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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA         )
                                 )
                                 )
v.                               )     Case No. 21-cr-00083-TNM
                                 )
BRANDON FELLOWS,                 )
                                 )
                                 )
                Defendant        )
                                 )




       DEFENDANT BRANDON FELLOWS’S MOTION FOR HEARING
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                                         ***Part A***
                                     ***Section 1: Intro:***

Let's go Brandon

       Judge, again I sounded an alarm, and again you ignored it to both my and the taxpayers

detriment.

       During our last hearing (as of 1/9/23) in November when you said we wouldn't have

another hearing until February, I objected and asked for us to have one sooner. I knew there was

a high potential for more ridiculous delays or issues that would make it impossible to defend

myself while incarcerated. I asked for this in order to share if the same issues were still

occurring. This is because I've seen the lack of seriousness on the governments part in aiding in

my defense (giving me my discovery/ global discovery), and allowing me to prepare for my case

(ensuring that I had proper correspondence with the courts/ didn't have my preparations or

motions taken away up to over nine months and counting, seven times).

       After I shared this concern of mine you said if I had any issues that needed to be

addressed in between this time frame to notify my stand-by counsel, who would then notify you.

From there we could schedule a hearing. I just recently did this, and you didn't keep your word. I

asked for an emergency hearing to share with you what has just happened, a continuation of my

preparations, motions, and correspondence being taken away from me by jails. A continuation of

major Access-to-Court violations. A continuation of my appeals to the Appellate Court being

taken from me. How is it that in this court where in your own words "Justice must be done" that

justice keeps slipping away? Its happened non-stop and on various subjects. Statistically, we are

way past the potential for these continuous injustices to only be labeled "accidental" or

"coincidental". Like in a kangaroo court, this is purposeful.
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       I'll give a more detailed account of what happened to cause me to request this emergency

hearing soon, but there are some other things I want to touch on since we seem to be having

continuous communication/ correspondence issues.

       First, I want you and the record to reflect that I've been wondering why you continually

rule illogically, hypocritically, and in the disinterest of law and justice to only my detriment.

Separately, but very related, I've been wondering why you refuse to offer relief or hold others in

contempt for lying, abusing my constitutional rights, or refusing to follow your own requests.

       Is it because you're trying to make a point that I shouldn't be representing myself (not my

fault you supplied me with useless counsels, besides, I've accomplished more than any lawyer

accomplished for me)? Is it as revenge for showing up in your court room jogging, eating Panera

Bread, or making a post work out shake in sweat pants? Perhaps I should've taken the allegations

that "I'm a super dangerous terrorist who's "worse than the Taliban" more seriously? All for

walking into the Capitol with permission from police and leaving voluntarily hours before

curfew? Perhaps it's that I've called you out as a hypocrite who's been defending the real

criminals in this case as I did in my motions in 2022?

       Perhaps it's that you're angry that the point you were trying to prove with me wasn't

proved as mine was proved ("I'm a Maverick" 9/2022 (Why I would accomplish things

representing myself))? Boy were you wrong, I caused reforms to be brought to the DC jail and

alone proved the DC jails grievance process was broken. This allowed millions of dollars in

future lawsuits for not just Jan-Sixers, but anyone who has been imprisoned there. I brought

much needed reforms to the people held in solitary confinement, for religious rights, and

personal hygiene like haircuts and shaving.
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        Perhaps it's because you're compromised like so many people, judges, and politicians are

in this DC swamp?

        Regardless of the reasoning, which I don't know and may never know, I do want you and

the record to consider this, how is justice being done as this continually happens to me while I

continually for well over a year have been not only asking for relief, but offering easy and logical

solutions to stop such things from continually occurring? I do know the answer for this, there's

no justice being done in this case, only injustice. As one of my favorite politicians and Judges

(Trey Gowdy) says "An injustice anywhere hurts justice everywhere. I've suffered continuous

injustices, and indeed it has harmed the potential for justice in this entire case. Because of these

injustices I've been harmed in every way, and the record has been harmed, many things should

not be on the record here, or at the very least should finally be corrected, it's kind of your job,

maybe you should consider doing it soon? Better late than never. ^1

        I'm asking for your one sided justice to turn into blind justice, I've been more than

patient. I hope you will change the way you've been acting, speaking, and ruling (careless,

ignorant, and too cowardly (or malicious) to enforce the law or my and other citizens rights) and

begin to take the law and my rights seriously. I also hope you'll begin to allow the truth to be told

rather than refusing to let me truly prove it (as seen with how you refuse to let me truly correct

the record by refusing to let me call a witness to the stand, and only allowing me to speak,

knowing full well that's the least compelling argument in a court room (a criminal defendants

testimony). ^2

        You're supposed to enforce the law and be a finder of truth, you aren't allowing me to

point out the lies of the government. I believe this is due to multiple reasons, but I'll only list the

one that I can prove beyond a reasonable doubt. Fact, you don't care if the government lies or
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hasn't followed the law. Offended? Don't be, this has been shown by the history of how you've

conducted yourself so far, below are just a few of the examples, at least in this case.

   ***Section 2: Kangaroo Court Examples (more examples available upon request):***

       Remember when I proved the prosecutor and the DDA of the DC Jail lied about the jail

having a working grievance process?

       What did you do? Virtue signaled that you cared by telling the DDA to show up to court

to give a false monologue about various situations. Did you do anything to change my

circumstances? No. Did you punish these people for lying? No. Did you punish them for

breaking the law? No.

        Remember when I proved that the DDA lied when she said there was no black mold

where I was living? Did you do anything about this? No. Did you order for me to be placed back

in C2B where the black mold issue was at the time more handled than in my area (where I was

improperly moved to)? No. Also, they took an out of context video in an effort to elude that they

had given me pens and that there were no issues with my cell. They moved me out of the black

mold sink cell 3 days prior and took the video while I was in court. The pens you saw did not

work, I was left to rely on an inmate leaving one in the shower area.

       Remember how I proved multiple times the jail refused to submit my correspondence

with the courts? Did you punish them? No. Did you consider my methods of relief I offered to

you in order to eliminate this issue and stop it from continually reoccurring? No.

       Remember how I pointed out I hadn't gotten my contacts/ couldn't see for 6 months? Did

you do anything? You threatened to, and then finally something was done. Was there any

punishment for these delays, denials, or them causing me to get two eye infections (same contact

for 6 months)? No.
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       Remember when I showed that the government knowingly and purposely gave both our

sensitive and highly sensitive discovery (over 200 disks if I remember correctly) to Delloite, a

random business? This business employed workers who did not have government security

clearances. These workers worked in an unsecure public business with insufficient security in

place to ensure this discovery wasn't copied or shared with others. Did you do anything about

this? No. But even the government and another judge pointed out they were not supposed to have

done this, even the government conceded they knew they weren't supposed to do this.

       Remember when you told the government that if they didn't have my discovery and

global discovery to me by September of 2021 that they could face contempt? Remember when

they lied and said they had given it to me during the month of December 2021? Remember in

January 2022 when the government temporally offered global discovery that mostly didn't work,

was disorganized, wouldn't load, kept crashing, and had all the dates and times wrong?

Remember when I pointed this out in a separate motion with witnesses who attested to these

facts on an exhibit and asked for relief or for the government to be held in contempt for still

ignoring your deadline? Remember how the government took down this global discovery in

March or April of 2022 and never fixed it or supplied it to me ever since then? Did you do

anything about these situations? Nope. Over 16 months past your empty threats of holding the

government in contempt and you still have done nothing to make them respect you, or to respect

my rights. Your main concern is rushing me to trial.

       Remember when I shared the DC jail took my 4,000 plus papers (filled with preparations,

transcripts, motion rough drafts, research, and notes) in May 2022 and never gave them back still

to this day? Have you done anything about this? You asked the government to. However, it

seems they remembered how in the past when you made requests of them to get me discovery by
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9/2021 and they ignored it how they didn't get in trouble. It seems like this is the case because

yet again they didn't do it. Why would they if they knew it truly wasn't a requirement of them

and that doing so would only serve to help me prepare even more? They don't solve the issue as

they smile and say "We are ready for trial". So really, you did nothing here either.

       Remember when I pointed out that the DC jail in April of 2022 took my USB drive with

my personal discovery and Highly Sensitive discovery on it and refused to give it back still to

this day? This also had typed up motions, access to court violations, notes, and edited video

clips. Have you done anything about it? You asked the government to handle it, and just like

they did with your request to get me my discovery or global discovery, they choose to ignore it.

Clearly, they will decide what request they want to listen to, and when they want to listen to it.

They clearly are the ones in charge of your courtroom. * Update, on 2/3/23 you also decided to

do nothing about this as well, "motion denied, it was lost through the sands of time". The "sands

of time" was your doing, you choose to ignore this for a long time. Separate appeal to be filed

and shared with you.

       Remember how I shared I had ineffective assistance of counsel with Cara Halverson?

Remember how I wanted to prove this in an evidentiary hearing to show I wasn't properly being

defended during critical points and hearings including both my preliminary hearing and my

revocation hearings? Did you seek the truth? Nope. This is typically what Judges do upon an

allegation of ineffective assistance of counsel, I wrote it down in my stolen legal notes in DC so I

can't cite this either, but you can look it up. Clearly, it doesn't matter to you whether I had

ineffective assistance of counsel who broke her code of ethics to my detriment. Pity, even

recently I read that this should be a concern of the court. ^1
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       Remember how I shared other various abuses and cover ups in my 157 exhibits and the

responses relating to those exhibits? Did you do anything about this? Nope.

       Remember how I shared with you based on how you found the 1512 charge to have a

base point enhancement of 14 that I would be past my maximum guideline range on 1/15/23

even if I was found guilty on all charges? This isn't even accounting for extra time for things like

solitary, abuse, being kept in a cell with black mold in the water lines and the air, being attacked

by guards, not having first amendment rights, rotted food, etc.. Did you do anything about this?

No, you simply stated, "Well I could go above the guideline range..." Pretty sure I read

something that said that a defendant shouldn't be in jail longer than his guideline range, but I

can't say for sure because all my notes have continually been taken. You should look this up too

because the law library at my current jail operates under a different search engine. I can however

cite more recent arguments I've come across. ^3

       I shared these examples in the event you took my words and accusations as nothing more

than disrespect. It's not disrespect, even though you've disrespected me immensely, the law, and

your own position with how you've conducted yourself. As my favorite debater Ben Shapiro say,

"facts don't care about your feeling", so please, don't take this hard truths the wrong way. Learn

from what I've pointed out to you and change your terrible ways.

       I could go on, and I do in more detail in the motion I was preparing that was taken from

me over one month ago, but I just want you to have an understanding for why I'm now being so

blunt, its been two years... I've been waiting over two years to prepare my case and correct lies in

many areas. I'm actually in a worse position than I was in September 2021, and you’re arguably

the most to blame for why I'm not only not ready for trial, but not even close to being ready for
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trial. This is your fault just as much as it's the governments. I would like to truly ppresent the

truth once I get all my preperations back and have a chance to reorganize myself and my work.

                              ***Section 3: Motion For Recusal:***

However, the examples I've just given to you document your poor judgements, selectiveness,

showcase you allowing injustice, lies, constitutional violations, and due process violations. These

are the main reasons why I'm motioning for you to recuse yourself. You clearly aren't fit to be

the judge in my case or even a judge at all. However, assuming you allow this, I'd prefer you

leave us on a better note. I'd like to finally get some relief granted before you potentially recuse

yourself. So please listen to the issues and grant relief. Also, I know you are either terrible at

making proper decisions or being aware of the truth, and I think you have too much pride to

admit your clear as day faults and recuse yourself, but as you know, I do need for this to at least

be on the record.

                          ***Part B: The Past And Current Issues:***

                                      ***Section 1:Intro:***

       For the Third time I've been stopped from filing an appeal on your ridiculous illogical

orders. I'll give a semi brief about how these things have happened in case you're still somehow

unaware or have forgotten like you've done so frequently on multiple subjects in this case.

     ***Section 2: The First Appeal Attempt (Appealing 10/12/21 orders/hearing):***

       Rewind to when I fired my useless, cop hating, code of ethics breaking ("Please just say

Trump told you to go into the Capitol") public defender Cara Halverson for refusing to point out

the lies and for lying to me. Following this, I wanted an evidentiary hearing to show the truth on

various subjects that she failed to show this court such as, showing that the prosecutor and

government "witnesses" lied, and that she was ineffective at representing me. I then planned to
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proceed to a separate bond hearing . I estimated that questioning Cara, along with the seemingly

endless hearing formalities (gov. talking for 20-40 minutes about how they were "working" on

getting global discovery up), would take about 1.5 hours, so I assumed a bond hearing would

need to be had in a different hearing.

       However, I was open to doing both in the same hearing if the court permitted and gave

me notice. If necessary, I was welcome and eager to cross-examine the government witnesses

after that should the court not be persuaded by my initial witness Cara Halverson.

Now I had read I could also call a witness at a bond hearing, so this was my back up plan if for

some reason the court denied giving me an evidentiary hearing. However, as noted, I would want

notice if I was to be given a bond hearing so I could prepare for that aspect as well. My ultimate

reason for bond would've been shown with calling my already present government witness to the

stand by surprise.

       Unfortunately this court gave me a bond hearing right away. Another unfortunate and

detrimental event occurred in that I did not receive any notice that I was attending a bond

hearing. My stand-by counsel informed me I would either be attending an evidentiary hearing or

a status hearing. When I arrived and was told for the first time in person that I was now attending

a bond hearing I shared that I wasn't prepared for this hearing. This didn't seem to matter to this

court. My stand-by counsel further hurt my situation by telling me if I didn't proceed with a bond

hearing that I would probably lose any future potential to have a bond hearing. She also shared

that I could still call my witness in the bond hearing (Cara was unaware that the witness I

planned to call to the stand was her). So with this in mind I continued on despite no warning, no

preparation, and no time to study about bond hearings, or the laws surrounding bond.
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I took the stand, and after my opening I requested to call my witness to the stand, "Denied"... My

only chance to get out was to offer the least valuable testimony (my own) since this court didn't

want any "credible" testimony or evidence to be produced (why wouldn't it want to find out the

truth?) Odd, the court allowed 3 government workers (One who I never met or spoke to) to speak

on a proffer as I wasn't allowed to call up any witnesses of my own? Sounds fair, right? I should

also mention that this court offered the idea of the government speaking via proffer further

showing its eagerness to help the government, and further showing it wasn't looking to hold the

government accountable if the record should ever reflect that they did lie, which they did in

many areas. Why would the court offer the government to "testify" via proffer if it wanted to be

certain only the facts would be shared? Sketchy, sounds like a kangaroo court, wouldn't you

agree?

         I pointed out the government lies, and they didn't object, but it was argued I was too

dangerous to be released and it was argued that I wouldn't follow the courts rules if released, so I

had my bond denied as well. Twenty minutes later, the government offered me a time served

plea deal. In order to go home I had to lie and say I committed crimes I didn't do. I denied it, I

won't reward terrorists with an easy victory nor will I lie for them.

         Clearly, the government didn't see me as too dangerous to be released if they offered this

to me, and I also was very upset over the above circumstances. So, I immediately sought to

appeal not just my bond being denied, but the fact that a bond hearing was given to me without

any time to prepare, not being warned that I was about to come to a bond hearing, and appealing

the denial of me being able to call a witness to the stand.
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       The unfortunate events kept coming when my appeal was finished. The DC jail again

refused to send it in to the Appellate Court (one of many access to court violations I've faced).

Then my stand-by counsel refused to come pick my appeal up. Ms... Halverson cited fear from

catching Covid despite that she recently had gotten vaccinated (which Judging by her age group

was a poor "sheep like" decision on her part). Nevertheless, these supposed irrational fears

popped up even though at nearly every hearing we had in person her and I were whispering in

courtrooms to each other. We even met privately in a room where we both took our masks off

and were very close together. It was a nonsense excuse, this was another example of her failing

as my counsel.

       Finally, on December 1st or 7th (I forget which day) 2021, my stand-by counsel finally

filed my appeal. Unfortunately she only filed the notice of appeal (purposely in my opinion, have

evidence for this) and failed to submit my 30-40ish pages (including exhibits). Even in this area

she was ineffective, she claimed I didn't need any transcripts (not true, I needed some), she said I

was only appealing my denial of bond (partially true, missing other things I was appealing), she

claimed I didn't want to be present in person (I wanted to physically come before the court), and

she lied to me when she said that she submitted my brief to the appellate court (She never

submitted it). It would take nearly half a year for me to find out that she never submitted my

brief or my exhibits I asked her to submit on my behalf.

       For months I was wondering what was going on with my appeal. I asked 3 different

stand-by counsels and neither of them informed me there were any issues (because all they saw

was that it was open). Then, sometime in April or May of 2022, I finally received something

from the appellate court. Unfortunately and surprisingly it was the appellate court informing me

that they dismissed my case for lack of prosecution because they had tried to reach me 3 separate
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times and never heard anything back. The court was requesting a brief from me (something I had

given to Cara Halverson and was told it was submitted) all three times. One or two of the times,

the appellate court went so far as to request the warden of the jail to see to it personally that I

received this request. However, as the only note I got from them said, they never heard anything

from me. Even the warden ignored his personal duty to give me the courts correspondence, what

a joke of a criminal justice system.

       The court never heard anything from me because the jail again refused to give me this

correspondence from the court. Check the legal mail records, all legal mail is signed when it's

given or received by me, I never got this. I never knew they were trying to reach me. The jail and

the warden never brought me any correspondence from the appellate court until my case was

dismissed. One of many, and one of the more intense access to court violations. This was very

illegal and very prejudicial against me. Were there any punishment's for this? Did this court offer

me any relief that I had requested months prior? Nope.

       This was the DC jails, the wardens, and Ms.. Halverson's fault. However, this court

shares tremendous amounts of blame for refusing to offer me the relief I needed to stop things

like this from continually happening. This court had no excuse as I had pointed that these issues

were occurring as early as September of 2021. I warned without an order or relief that these

situations would probably continue to happen. I did my best to avoid this, this court didn't.

    ***Section 3: My second Appeal Attempt (Appealing Denial Of Relief Order From

                                            4/14/22):***

       For six or seven months, I asked for relief on issues that were inhibiting my defense or

depriving me of my constitutional rights in the DC jail. Hearing after hearing you kept saying

"put it in writing". (Sigh), another showing of your ignorance, it already was in writing and had
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been for months. This is more evidence of how you're ignorant to the very things that are

submitted in your own courtroom. Though at the time it was even more mind-boggling because

this kept happening as if you had memory loss ("Put it in writing", (the next hearing) "Put it in

writing"). In April 2022, I finally asked you to just rule on it so I could file an appeal. You chose

to be a selective hypocrite (Based on your 2 prior rulings in 2 similar cases the past 2 years in a

row)and choose to deny my requests. As I pointed out your hypocrisy multiple times before, you

said in one of those cases (Capitol Hill Baptist V. Bowser I believe) "Missing even one week of

church causes a harm for which there is no remedy (or something like that)". I had finally had

enough of your delays and had enough of your refusal to grant us relief. I believe at the time us

Jan Sixers had gone 66 weeks without religious services, visitations, video calls, our first

amendment rights, etc.. This was even worse than your previous cases in not just time, but

circumstances because, as I pointed out in court February 2022, at least those people could drive

outside of the DC area to enjoy their first amendment rights. At least they didn't sit in their cells

for weeks at a time without getting out to call family, lawyers, or shower while being physically

and emotionally abused. When looking how you ruled in the 2 previous religious rights cases,

your ruling was nonsensical and selective.

       No matter, I know you're not very aware of things pertaining to our cases (as seen by how

recently in other Jan Sixers case, you were surprised that people died this day). Even Democrats

know people died that day (though they falsely claim police officers died as a result of this day).

It came as a surprise to you to hear anyone died that day, you didn't know that Rosanne Boland

and Ashley Babbitt died that day as a result of police. This being the case, I also imagine you're

ignorant to the fact that Congress intervened in the DC jail within the past week to ensure my

friends got their religious services and first amendment rights back along with visitation and
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video call opportunities. Unfortunately, you couldn't uphold your oath to uphold the constitution,

you either were too weak or too selective.

       Honestly this situation helped me understand why you denied such clear evidence of

selective prosecution in our cases, this shows you clearly want to join in on treating us

differently as can be seen by your completely different ways of ruling. Both you and the DOJ are

selective and treat us differently than you do other citizen. Both you and the DOJ don't treat us

the same under the law, just like how a kangaroo court operates.

       Now, I know the excuse you clung to last time, "This is a civil matter, not a criminal

matter". The government probably introduced this argument after they grew tired of having their

lies continually pointed out and proven wrong by me. You probably grew tired of the record

reflecting that you were letting the government get away with lying over and over again in you

court room, so you clung to this. Regardless, both you and I know this wasn't a valid excuse.

What could've been a valid excuse was the other argument the government tried to rely on prior

to the argument you both ended up using to end this, "The grievance process must first be

exhausted".

       I knew this was a potential valid excuse months before they tried to adopt it, so I

immediately tried to exhaust the grievance process. I quickly found out it couldn't be exhausted.

So I submitted exhibits to prove this around October of 2021. The on 12/16/21 I showed proof to

chief Anderson of the United States Marshalls who then agreed with me that the process was

broken. Following this, the Marshalls and DOC began an investigation that was released 3/17/21

that said "The DC jails grievance process is completely broken." Finally, to kick them while they

were down, I submitted to this court 157 exhibits proving abuses, cover-ups, access-to-court

violations, HIPPA violations, PREA violations, and even more evidence of how the grievance
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process was broken. These exhibits came from about 10 other victims. I proved it was broken,

that my and other people's constitutional and due process rights were being abused. These things

were not only harming me, but they were inhibiting me from preparing motions, rebuttals,

preparing for my case, and to file or receive appeals. Did you offer relief or punish the

government? No.

        Look to a judge who did the right thing in a very similar situation. Look to the judge

presiding over January sixth defendant Christopher Worrell. His constitutional rights were being

violated and like they tried to do with me, they lied and tried to cover these abuses up. When

Chris's judge found out the jail and the government lied in his court room and tried to cover these

abuses up, he held them in contempt and gave Chris the relief he needed. The grievance process

wasn't proven to have been exhausted and yet not only did his judge do this, but he ordered an

investigation into the jail that resulted with nearly 190 inmates being moved out along with tons

of other constitutional violations being discovered.

        Unlike me, Chris was being represented by counsel and these things were not effecting

his preparations. These present even more reasons I should've gotten relief and that the

government should've been held in contempt. I should also mention that Chris was alleged to

have assaulted police with a deadly weapon and had a criminal history unlike me, yet he was

released over all this.

        Unlike you, Chris's judge didn't throw a ridiculous excuse out like "This is a civil matter",

ignore the issues, and refuse to punish the government for lying and trying to cover things up in

his court. He took action, he brought justice to his courtroom. In a 2021 hearing of mine, your

mouth literally uttered the words "Justice must be done." but your actions and refusal to take

actions say things like "I'm to biased and selective to rule in January sixth cases", "I advocate for
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injustice", "I don't care about constitutional rights being abused", "It's totally fine if the

government lies and covers things up in my court room.", "A defendant shouldn't be allowed to

aid in his defense", "I love operating my courtroom like a kangaroo court/Nazi courtroom", "I am

trying to stop Brandon Fellows from being able to defend himself and have a fair trial", "I

advocate and push for injustice", and "Injustice must be done" among many other unflattering

things. If this truth offends you as it should, then change your actions.

        Point being, you were without excuse no matter what you claimed. Also, I couldn't even

get correspondence or send any for my criminal proceeding, you really expected me to be able to

start a civil case during all this? No, I don't think you did, I believe you just wanted to avoid

holding the government in contempt or stop me from having another victory while representing

myself. What is clear is that you are working against me. You are working against my and other

Jan Sixers constitutional rights. You should be ashamed of yourself for not standing up for the

laws of this country and the rights of Americans. If Congress found this to be such an issue that

they intervened, then you should've as well. If another Judge found that constitutional violations

warranted relief, then you should've. If you yourself found "Missing church for even one week

constitutes a harm for which there is no remedy" then you should've done something to offer us

Jan Sixers relief after 8 months when I first brought this issue up to the court, after 66 weeks,

after 100 weeks, and past it. Either do your job and stop being selective, or find another one for

the benefit of the American people. Your job shouldn't just be saying "Justice must be done",

bring ture unbiased justice to this case for once.

        Still, prior to relief coming from Congress, I at the time attempted to oppose your

hypocritical refusal to grant us relief in multiple areas in the DC jail. I prepared an appeal for the

appellate court. However, in April 2022, the DC jail took that appeal which was nearly done and
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typed up on my discovery USB device, and never gave it back. For nine months and counting

I've been asking for it back, I've been asking for you to do something about this, my lawyers

have been asking both you and the jail to get it back to us. As usual, nothing has been done. My

appeal not only was taken, it never was able to be submitted. This is your fault as much as it's the

jails and government’s fault because of you and your inability (or refusal) to take the necessary

action to ensure my access to the courts was no longer infringed.

       Before moving on I want to note that I pointed out these issues before Congress took

action. Like me, they knew that this was a problem that needed to be solved because it was

against the law. I sounded the alarm in your court and you did nothing. Like I did here, I've also

done so in regards to how I didn't meet the requirements to have a detention hearing, the

government lied to make me fit the flight risk factor and I've been trying to get you to let me

prove this to you and you've refused. ^4

       Regardless, I can imagine based on how you've ruled in this case even if I did prove this,

you'd probably do nothing. However, I do hope realizing that Congress sided with me over you

will help you realize I have merit for the things I'm calling out and seeking relief on.

                 ***Section 4: Another Major Access-to-Court Violation:***

       A separate and very related Access to court violation happened to me when my 4,000

plus pages, preparations, transcripts, motions, and notes were taken from me as I was being

moved out from the DC jail. The jail refused to give them to my lawyers when they came to pick

them up. I had a feeling something like this was going to happen, so I moved half of these papers

into another persons cell prior to getting kicked out. He had to sneak them out. The other was

finally given back in November, but I still can't get it in here.
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half got out through other means. Now, half of these papers are in Colorado, and the other half

are in Tennessee. No jail will allow this amount of papers to be stored in a room, let alone allow

any of these papers to be sent in (they fear drugs could be sprayed on them), I've been trying for

months at multiple jails. These papers are very important, over 10 months of preparations are in

these papers, I can't just have them taken away like that and not get them back...

       ***Section 5: My Third Appeal Attempt (November 2023 Denial of Bond):***

       Recently, you denied my bond again. You ignorantly claimed I didn't follow curfew (not

true, you're ignorant to the facts), and canceled my mental health evaluation (not true, you're

ignorant to the facts). You claimed I was a "non-violent" danger to the community (that I

wouldn't follow the courts rules) which is not true, if only you allowed me to prove this then

maybe you wouldn't be so ignorant. If only you cared to look into how I had ineffective

assistance of counsel, maybe then you'd see that I had a lawyer refuse to correct the record over

and over again to my detriment represent me at the hearings where you gathered your "facts"

from. I had already written how your reaching this conclusion was poor judgement in my motion

that was just taken from me, but I argue against it in less detail in part four of this motion since I

still don't have the previous motion I wrote back in Northern Neck.

       Separately, I found it odd that the government argued I was too dangerous to be released

given that they have offered me three time served plea deals, one of which was a time served

misdemeanor. Somehow, you don't seem to understand or care about this discrepancy between

their words "he's too dangerous to be released" and their actions (offering for me to go home

ever since October of 2021 and offering me a misdemeanor). Do you not see, or do you not care

that they are merely holding me to punish me for simply not giving them the win in this case
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easily? Even with the selective prosecution, they finally hit the point of essentially saying "These

charges aren't as serious as we make them out to be, send him home if he concedes to us."

        Regardless, I was filing an appeal for my refusal for bond and also was touching on

subjects that focused on what I need to prepare for trial (and a more detailed recusal motion

among some other things that needed to be put on the record/ access to court violations that had

to and still have to be shared) and yet again it was taken from me.

        With only a few hours of notice I was told I was randomly moving to another facility (my

10th facility in under 2 years to be exact, pretty ridiculous). I was told I wouldn't be able to take

anything, even my appeal I was almost finished with. So the Northern Neck jail took my

correspondence. I was told I would have to give it to them to mail it to an address of my choice.

After three weeks of waiting for the mail to arrive, it still was no where to be found. On January

9th 2023, after 3 weeks of waiting, I asked my stand-by counsel to request an emergency

hearing to bring this issue up. Again, you chose to do something that didn't make sense. You

chose to deny my request further delaying my preparations.

        From September of 2021 until January 2023 I've been pointing out the same issues, all

while you not only ignore them, but as you try to railroad me towards trial all while insinuating

that my not being ready for trial is my fault. It is your fault, the record clearly reflects that. It will

reflect it even more when I can actually get my stolen correspondence and preparations back.

(see additional arguments #10)

        My most recent appeal was due on January 3rd. The jail will not allow these papers in. Al

together, I probably have about 4,500-5,000 pages from all the jails I've been to that I could

really use. When I was in the DC jail and lived in a single cell alone this took up most of my
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room as I had organized everything by subjects and had separate stacks. This jail will not allow

that and even if it did, I now have another roommate so this would be even more untenable.

                             ***Part C: The Relief I'm Seeking:***

                               ***Section 1: First relief request:***

       The 1984 Bail reform Act specifically authorizes the temporary release of the accused if

necessary for preparation of the accused's defense, or for another compelling reason. This may be

done by separate order of the judicial officer and requires merely a determination by the Judicial

officer that the release is necessary for the purposes sought.

       Now in the motion I was preparing at Northern Neck I go into way more detail about the

things I need, why I need them, and how I've been inhibited from preparing my defense, but

since I don't have it, I'll just cite the "compelling reasons" for why I need to be released in this

motion.

                                         ***Section 1.1:***

  ***Compelling Reasons To Release Me (Actions/ Accomplishments Prior to 1/6/21):***

       I was a member of the same community my entire life. I have no criminal history. I had

(and have) two tiny residences of my own. I went to college (2012-2016) (statistically less likely

to commit crimes), I was trusted by two seperate but jointly operating multi-million dollar

businesses to be their lead operations manager while also operating my own two personal

businesses (2020-2021). Out of 2,400 students at Niskayuna High School (rated best public high

school in New ork (grade/ graduation/ go on to college wise) I was given the Mark Pollotollo

award which is given to one student every year who demonstrated outstanding character (2012).

Out of 8,000 students at my college I was one of five people to be recognized and awarded for

demonstrating advanced leadership skills. this award was given by SUNY (State Universities of
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New York) chancellor Nancy Zimphner (2014). Coached and instructed both soccer and

wrestling programs for 4-22 year olds (different classes and locations throughout 2013-2018). I

was a student Senator for SCCC from 2013-2014. I was a SUNY Representative (2014). I

obtained funding for and created SCCC Wrestling Club. I was the youngest hired intern (age

17(2012) at a multi billion dollar company (Golub Corporation) where I co created an affinity

group for Hispanic and Latinos while interning with the VP of Diversity and Inclusion. I was the

youngest hired Supervisor (17) and youngest hired Service Action Manager (18) at a multi

billion dollar company (Price Chopper Supermarkets). Many more accomplishments, these are

my proudest accomplishments prior to 1/6. These accomplishments show the court that I don't

just exist in my community, I help my community, and I've done things that have helped both

individuals and large companies. Many of those people don't even know I was pivotal in

bringing about the positive changes or programs that they now benefit from. I'm far from a

danger to any community, I'm an asset.

                                        ***Section 1.2:***

                   ***More Compelling Reasons (1/6/21 Actions/Facts):***

       I followed police orders on 1/6/21. Cops were very welcoming and friendly to me as I

was to them. I was told I wouldn't be arrested by police so long as I followed their rules, which I

did. There was no dispersal order given, in fact, I was given directions on where to go further in

the building and was given cool history lessons on different parts of the building by police as if

they were leading a museum tour. I followed curfew. I spoke against a person trying to steal a

painting. I was personally asked to help wrap a police officer in a tarp at one point outside by a

gorgeous Columbian girl, I told her I didn't think that was a good idea and did not join her. I

stopped a supposed antifa member from being further attacked by Trump supporters in the
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crowd. This was my first political rally ever and first time in DC, I had no idea we couldn't go

into the peoples house, pretty confusing to call it that and not be allowed in especially given one

of Americas founding document mentioning this is a right.

                                        ***Section 1.3:***

               ***More Compelling Reasons: (Pre-Trial Release Actions):***

       I never should've been given a detention hearing, let alone conditions of release, but

despite how I was wronged I proved I can still listen to abusive tyrants pretty well, just like an

oppressed but subservient Chinese citizen. I never left the Eastern District of New York without

permission. Never left the apartment I was forced into without permission even under 24/7 home

confinement whether it be for the months of January and February, or when I was stupidly

placed back on it from April until mid- June, not once. The petty larceny charge (2nd revocation

hearing) was not my fault, it was the DOJ's because they took my phone, business records, and

business contacts stopping me from knowing customers contact info and stopping them from

being able to reach me, the customer publicly conceded to this in the local newspaper. I drove

two separate times to this court 18 hours round trip, I rented hotels, a smaller car, personal

driver, and paid for both of our meals both times expecting to be revoked and placed in jail. I

never missed virtual court. I was very responsive to emails, texts, and calls from my P.O.. I

voluntarily signed up for a mental evaluation prior to the court even ordering me to get one. I

never was found to have anything that I "shouldn't have" during home searches.

       When I was told to show up to the office multiple times a week, I listened. When my P.O.

demanded I not operate my businesses that I had worked very hard to make successful non-stop

since 2018, I protested and complained, but I didn't operate them. Even when I was losing

business in my chimney company from customers I had created good trust and relations with in
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the past, I still listened and didn't work. Even when my tree business partners brought up and

eventually did replace me, I still didn't work. Crazy, my probation officer claimed I wasn't

working to the court and yet she wasn't allowing me to work, she wanted to dictate what work I

would do like I was some communist citizen who didn't have a choice where I could work (just

another tactic to get me revoked). I listened when she demanded that I apply to other jobs. When

she demanded I apply to 5 jobs a week, I listened. When she raised it to 10 a week,I listened. I

listened when she demanded I physically bring the applications to her instead of emailing them

even though this process took over 2 hours each week and lots of gas. When she told me to stop

applying to places like the FBI, the Capitol Police, the DNC, or to be a doctor, I listened. When

she finally allowed me to operate one of my businesses I immediately proceeded by scheduling

work for the following week (a full 5 days scheduled in less than 3 days time). However, she

truely didn't want me to operate my business. When I was on my way to an approved job, she

called me up screaming and told me to turn around and go home, and even though it pissed off

my customer and took away income that I really could've used, I listened. The next day when she

told me to cancel 2 jobs last minute, I listened and pissed off more customers. When I was told to

come down to the Albany office knowing I was facing a revocation decision, I showed up. I sat

in that office two days in a row peacefully waiting at their request knowing at any moment I

could be placed in handcuffs and taken away to jail.

       Ever since four days after my first revocation hearing in April 2021 I never missed a call

in until I was revoked. For forty-six days in a row I didn't miss a call in rate raising my call in

rate percentage by 16% from 50% April 30th to 66% by June 15th, and I clearly was on track to

continue the trend. Now yes, I know, 66% is barely a D in grade school, however, what should

be noted is that percentage would've been much higher if it wasn't for my probation officer. She
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told me early on that I shouldn't worry if I miss a call-in because she would personally call me if

I did on a day that I needed to come in for a drug test in order to ensure I didn't miss it. As proof,

the court could notice this happened the first time I was scheduled to have a drug test. The court

has this email on the record, in that email I was complaining about having to show up for a drug

test later that day, the reason I did this was because Kendra notified me that I had to show up in

person. Kendra reminded me just like she said she would, and again, I listened. The main thing

that the court should be looking when analyzing my call-ins is that the point of calling in was to

see if I had a drug test that day or not, and guess what, I never missed or failed a drug test. So the

main goal of the call in was met, even with my 66% call in rate that was only increasing. When

the court made it very clear that it wanted me to call-in in April, I clearly took notice and

listened.

        The two times I was late it was excused/ proven that it wasn't my fault. Both times I had

my phone on me and both times I spoke with the after-hour lines officer. Both times I continually

updated them of my location and the progress of the situation that was out of my control. The

first time I was less than a half hour late, my keys were locked inside my vehicle at the gym I

always attended 4 minutes of a drive down the street from my residence, I did not put society in

danger by accidently locking my keys in my vehicle. The second time was while I was at a

restaurant with my friends. As we prepared to leave it became apparent that my friends Toyota

Prius battery was dead. I believe I was less than two hours late, and again society was not

harmed as a result. My probation officer looked into both of these situations and saw there was

nothing out of place nor did she find me to have lied. So, out of 147 days of pre-trial release, I

was excusably late two times which means 98.6% of the time I wasn't late. I also never cut my

ankle bracelet off and it was always charged showing exactly where I was.
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        This court still ignorantly claims I canceled my mental health evaluation, was persuaded

that it didn't think I was planning to go to it in the first place, and that I wouldn't follow its

orders. Interesting how you came to the first two conclusions given that I voluntarily signed up

for this mental evaluation in May before you mentioned I should go or ordered me to begin

going. I attended drug tests that I clearly didn't want to attend, but I won't go to something I had

been asking for since I was put on probation and before that (therapy)? It is interesting that the

court still holds this view despite that on my own I called in with enough notice and asked for

my evaluation to be rescheduled for the next available opening. I didn't go in because I only got

about 1 hour of sleep. I was trying to not be a danger to the community and to myself. It appears

that this court felt it was safer to drive my 8,000 pound vehicle on the busiest high way in the

capitol region of New York during rush hour while on very low sleep instead of rescheduling my

evaluation for the next open slot. This sort of logic is a perfect example of why I don't think

you’re fit to rule in my case, your judgments don't make sense, you don't make any sense.

        Given all this information, I have no idea how you came to the conclusion that I wouldn't

follow the courts irrational, illogical, and selective orders. I followed the most intense and

demanding orders and kept doing so for months. It is absolutely ridiculous of you to claim that

you aren't confident that I would follow the courts orders. To put the icing on the cake, there

shouldn't have been any conditions of release to follow because I didn't even meet the

requirements to have a detention hearing, and yet I did even to my detriment. I suffered over and

over again following this courts orders it had no right to put on me and yet I still was punished

over it. What a great courtroom/ justice system you are operating here.
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                                         ***Section 1.4:***

          ***More Compelling Reasons (Accomplishments/ Actions since 1/6/21):***

Proved the DC jails grievance process was broken allowing tons of inmates to get the relief they

need both now and in the future since the jail disregarded the Prison Litigation Reform Act.

Increased religious rights for everyone in the DC jail as a result of investigations I helped get

started including more time out of cells, more phone times, no 24/7 lockdowns, haircuts and

shaves being allowed, being allowed to use the phones on the weekends in the hole, getting a

record on problem employees, etc.. Helped raise hundreds of thousands of dollars for indigent

and other defendants to aid in their defense. Helped bring supporters to jails and helped create

vigils. Taught many people in multiple states how to document their abuses and test their jails

grievance process/ prove if it is broken. Helped point out abuse in Northern Neck which helped

cause many defendants to be moved into better conditions.

                                         ***Section 1.5:***

                ***More Compelling Reasons (Jail Conditions/ Treatment):***

         I was attacked two times by guards at two separate jails. I was held in a cell with no

working toilet multiple times for days. I've had my 1st, 4th, 8th, and 14th amendment rights

abused constantly for two years at every facility. I've had my medical issues both old and new

ignored at every facility so far. I've been denied showers for many days multiple times at

multiple jails. I've been in jail since 6/15/21 and had my freedoms taken away since 1/16/21, all

over a trumped up phony felony charge and a misdemeanor charge of trespassing. I'm

supposedly innocent until proven guilty even though this court is holding me past my guideline

range.
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                                        ***Section 1.6:***

                    ***More Compelling Reasons (Preparation Issues):***

       I had three separate appeal motions I wrote and was almost ready to/ waiting to submit

taken from me. I've had Correspondence sending issues (written about to court and still

happening. I've had correspondence receiving issues (talked about in court, written about, and

still happening). I've been denied paper, pens, envelopes, and stamps for many months at

multiple jails (written about and talked about in court). I can't reach/ contact witnesses while

incarcerated, witnesses I would be very interested in having come to trial to answer questions. I

can't access global discovery in here nor have I been able to since the beginning of April 2022

(As written and spoken about many times, even for the 2 months that it was available, it was a

nearly useless data dump that kept crashing with the DC jails wi-fi). I've had my motion/ trial

preparation papers taken at 4 different jails a total of seven times (DC, Fort-Worth, Grady

County, and Northern Neck Regional jails). I'm unable to get my preparations brought into this

jail because it would be too much for them to process and take up too much space in my small

shared two man cell. I have a pending appeal that was due 1/3/23 that I still haven't even gotten

my preparations I worked on for a month at Northern Neck back nor have I gotten the exhibits

and subpoena templates I asked my standby counsel to send back in November (2/14/23 as I

write this edit in). At my current jail, there are four computers that are shared by about 40

inmates. We can only use these computers for 15 minutes at a time and must wait a minimum of

half an hour before using them, this creates motion creation issues and law library issues. The

technology and limitations on the computers makes it very difficult to edit and add to rough

drafts, more often than not, they must be retyped over and over again.
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        I don't trust a fair trial could be had with you (in my case). I agree with a lot of your

beliefs and speeches on Youtube. I love how you've ruled in previous cases on religious rights

and even with some January Sixth defendants situated similarly to me. However, I think based

on how things have gone and continue to go that you have a bone to pick with me. I could

understand that, after all, this is a stressful situation, and I'm hard to like if I feel like you’re

abusing me or refusing to stop me from being abused when you have the power to do so.

However, I feel like since you’re a judge, it's your duty to overlook my coping mechanism and

rule based on the law and how you've rules in the past. I don't see you doing that now if you

haven't already. Even if you began now, I'd still be very concerned over concealed attempts of

yours to further inhibit my defense, preparation for trial, or helping to cause doubt with the way

you look or respond towards me while I talk. During a trial, this could be very problematic and

prejudicial, jury members are very impressionable as you know. I've just had too many issues

with you. It's for these reasons I'm motioning for you to recuse yourself. I would like a new

judge who is actually concerned with finding what the truth is, who advances the law, who

advances what is right, who doesn't help/ have a bias in favor of the government, who doesn't

refuse to punish the government, who doesn't inhibit or get back my preparations while

demanding I be ready for trial, and who punishes me for the governments lies and abuse.

                                             ***Part D:***

                                    ***Footnotes/ Comments:***

        1.1: The practitioner should ensure that his client has been properly represented during all

critical stages. If the defendant was not properly represented at those stages, a constitutional

violation likely occurred. In the event that the defendant was denied the right to assistance of

counsel at a critical pre-trial stage, counsel should move the court to suppress any evidence
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obtained during that procedure. Counsel should be prepared to argue that the evidence was

obtained during a "critical stage" of the trial, in violation of the accused's Sixth Amendment right

to counsel.

Comments:

       In DC jail I wrote down case law that said upon a criminal defendants claim of

ineffective counsel, the court should conduct an evidentiary hearing to see if this is true and see

if any damage resulted from the ineffective assistance of counsel. You did not even seem

remotely interested in whether this occurred to me. This is in the beginning chapters of "Criminal

Law Defense Techniques" so it' not like this is hidden away somewhere, pretty elementary.

During my preliminary hearing all the way until my counsel was taken off my case (even as

stand-by counsel), I was denied my sixth amendment right to counsel, this is why I am in jail.

Before asking for anything to be suppressed, I want to be able to prove I was denied ineffective

assistance of counsel.

       1.2: United States, 374 F.3d 1068 (11th Cir. 2004) denial of right to counsel at critical

stage must invariably deny a fair trial).

Comments:

       Obviously, me being in jail under these conditions has hurt and is hurting my preparation

for pre-trial motions and to prepare for my trial. The government has been rewarded because of

their lies and because of my ineffective counsel leaving it on the record which lead to me being

placed in jail. One additional example of this is how I was surprised by a bond hearing and had

to testify under duress in an attempt to get out of jail. So many other areas have been negatively

effected by this, and yet you didn't even consider conducting an evidentiary hearing to see if this

happened.
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       1.3: Mitchell V. Mason, 325 F.3d 732 (6th Cir. 2003), cert, denied, 543 U.S. 1080, 125 S.

Ct.. 861, 160 L.Ed. 2d 824 (2005) (pre-trial period constitutes "critical period" because it

encompasses counsels constitutionally imposed duty to investigate case); Missouri V. Frye, 132

S. Ct.. 1399 (2012) (critical stages include arraignments, post-indictment interrogations, post

incitement lineups, and the entry of a guilty plea).

Comments:

       My counsel didn't investigate my case. In fact, when she knew the truth she deliberately

went out and said things that were not even my story, things I warned her not to argue ahead of

time because it wasn't true. This happened when she argued that I called in to my mental

evaluation because I felt sick and was concerned that I'd get others sick so I canceled. I believe

the doctors that side with the long proven argument that in order to have a strong immune system

you should be fit, go outside, and not hide inside or run away from others. A weak immune

system is one that is not being tested or introduced to any germs. So this clearly wasn't why I

called into the mental evaluation (that I voluntarily signed up for prior to the court ordering me

to attend one about one week later). The reason was because I only had about 1 hour sleep and

felt that driving an 8,000 pound vehicle on a highway in the capital region of New York during

rush hour traffic would be unsafe to the community, (total opposite of "non-violent danger to the

community") so I called in to RESCHEDULE (not cancel) the evaluation. To keep with the other

court order of working, I got a few more hours of sleep and then began to drive to work, that is

until my PO screamed like a menopausal woman for me to turn around and cancel my job (even

though I was already on the way to an expectant customer) as punishment for rescheduling my

evaluation... This is just one of many examples of her doing a terrible job while representing me.
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       2.1: United States V. El-Hage, 213 F.3d. 74 (2nd Cir.), cet.. Denied, 531 U.S. 881, 121 S.

Ct.. 193, 148 L. Ed. 2d 134 (2000) (defendant may present witnesses and cross examine

government witnesses at a detention hearing).

Comments:

       I had ineffective assistance of counsel to the extreme, so when this court claimed that the

witnesses were properly cross examined and that I had the opportunity to present witnesses, I

didn't. If the Supreme Court has ordered that defendants can do this at a detention hearing where

their rights are going to be taken away at some capacity, then I'm sure that they also would feel

the same at a revocation hearing. To be sure, I asked my stand-by counsel about this since I

couldn't find any information on this and he assured me that I do have a right to do this at

revocation hearings and bond hearings. So, with that information, I'll point out that you again

didn't do what you should've done to assure the truth and justice came out of your courtroom.

       3.1: United States V. Briggs, 697 F.3d 98 (2d Cir. 2012)(court held difficulties faced by

the prosecution in a large and complex case do not justify the indefinite detention of a defendant)

Comments:

       "This is a complex case your honor", oh how many times we heard this or something

similar from the government! Now, you were more than willing to move the times back for them,

and they have an entire Department of Justice focused on the investigation and prosecution of us.

They have technicians, paralegals, and plenty of resources I don't even come close to having.

Outside of jail I don't even have a fraction of these resources, in jail, I may as well have nothing

because it's just above that. Yet you rush me to trial despite all that has happened. Now, I'm

trying to make up for lost time, I would like to go and prepare my case properly.
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       3.2: Compare United States V. Hill, 2012 U.S. App. Lexis 3330 (2d Cir. 2012)

(defendant failed to prevail on due process argument when court held that length of detention

was due to inherent complexities inherent in a 20 defendant case and record reflected no

intentional or unwarranted delay by the prosecution).

Comments:

       Now, as mentioned, we know this is a complex case, however, that was their excuse for

the first year. This second year the reason I haven't been given my discovery has been, well, it

simply was never adequately provided, and even the crappy crashing version inside the jail was

taken away April 2022. It wasn't intentional on my part, the jail intentionally took it. The

government has not succeeded in getting me this. In fact, the government hasn't made an effort

since April 2022 to even get me or the other defendants access to global discovery, I've been way

more than patient. These delays were intentional and unwarranted. Further, this isn't a crime of

violence or involving drugs, it involves whether I trespassed a building or not over 2 years ago.

Also, I've read holding someone past their guideline range pre trial is considered a due process

violation.

       3.3: Jones V. State, 803 S.W. 2d 712 (Tex. Crim. App. 1991) (defendant indicted for

Capitol murder was imprisoned for more than two years was entitled to have bail reduced to

affordable amount):

Comments:

       Oh, how often I've seen things like this happen in both case law and in jail the past 2

years. Again, if a murderer is to have his bail reduced to an affordable amount in a "Anti-Crime"

State like Texas, than mine should've been granted a long time ago. You actually did this for

Colleen Bower who has the exact same charges as me! Like me, she also was revoked, but after
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12 months you decided to let her out again. If I remember correctly, you gave her bond again 10

days before you denied my bond without even hearing my arguments. Is this a case of female

privilege in the justice system or is this just continued selectivity and bias on your part against

me?

        4.1: United States V. Singleton, 182 F.3d 7,337 U.S App. D.C. 96 (D.C. Cir.

1999)(detention until trial relatively difficult to impose; must follow a judicial finding of one of

six circumstances triggering a detention hearing).

Comments:

        See 4.2 to see I didn't truly meet any of the six circumstances.

        4.2: In order to have a detention hearing a defendant must be charged with: (1) crime of

violence, (2) an offence for which the maximum penalty is life imprisonment of death; (3)

certain controlled substances for which the maximum penalty is imprisonment for 10 years or

more, (4) Felony committed after the accused has been convicted of 2 or more offences. Or on

motion from the government in a case that involves (1) a SERIOUS risk that the person will flee;

or (2) a serious risk that the person will obstruct or attempt to obstruct justice, or will threaten,

injure, or intimidate, or attempt to threaten, injure or intimidate a prospective witness or juror.

Comments:

        I truly met none of these requirements, the government fabricated an entire story in an

attempt to make me seem like a flight risk. My useless counsel didn't ever try to correct the

record, I've been trying to ever since. I never should have gotten a detention hearing.

        4.3: United States V. Dillard, 214 F.3d 88 (2d Cir. 2000) (if offence not "crime of

violence", no detention hearing held in absence of other provision for detention, defendant must

be released).
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Comments:

       If government lied about me being a flight risk, no detention hearing should've held in

absence of another provision for detention, I must be released.

       4.4: Additionally, take a look into the face of January Sixth, Jacob Chansley, I don't have

my notes on him nor can I access his case law here, but I do remember that the government

conceded that the only reason they could have a detention hearing was because he brought a

flagpole with a spear tip into the Capitol. Without him bringing a spear into the capitol, he

wouldn't have been able to even have a detention hearing. Chansley got into congress and even

didn't listen to police orders unlike me, it's on video. Now, as punishment for having ineffective

counsel and separately for not negotiating with the terrorists in the DOJ I've served.

       4.5: Release on specified conditions becomes available only when the judicial officer first

determines that release on personal recognizance or release on an unsecured appearance bond

will not reasonably assure the appearance of the accused or will endanger the safety of another

person or the community. This reaffirms Congresses commitment that those two forms of release

are preferred. Accordingly, counsel should not consent to consideration of release on conditions

unless the judicial officer has first considered and rejected release without conditions.

Comments:

       Even if I was to have met the conditions for a detention hearing, the conditions I received

went way above the requirement of what any other person similarly situated in a non January

sixth, or even a January sixth incident would have received. If it was proper to give me a

detention hearing (which it wasn't) a reasonable and uncorrupted judge would've simply released
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me on my own recognizance, or at most put in a "don't commit crimes and stay in the country or

state. My counsel never even argued for less conditions, she damaged this case here as well.

        Now, as you can read, the reason I was given such strict conditions compared to everyone

else that was in the same areas that I was in and who was charged similarly to me is that the

government made up a crazy story in order to get me under the requirements for a detention

hearing. These lies clearly caused the judge to say in her head "Well, because of what the

government has told me I I clearly need to enforce specified conditions since releasing Mr.

Fellows on an Unsecured bond won't reasonably assure that he will show up. Without these lies,

there wouldn't be a detention hearing and the judge wouldn't be able to put such harsh conditions

on me that ended up being used to claim I wouldn't follow the courts orders. The government

was rewarded yet again for their lies. Congress put forth these laws and rules to stop such abuses

from occurring, so you shouldn't reward them, you should punish them for this. You most

definitely shouldn't have and should not continue to punish me, Congress wouldn't approve of

such measures, it is injustice to do so.

        5: U.S. V. Munchel, 991 F.3d 1273 (D.C. Cir. 2021) (District Court did not demonstrate

that it adequately considered, in light of all the record evidence, whether appellants presented an

identified and articulable threat to the community. The appellants assaulted no one on January 6;

that they did not enter the capitol by force; and that they vandalized no property were all factors

that weighed against a finding that either pose a threat of using force to promote their political

ends.

Comments:

        I'm in the same boat, in fact, I spoke up against another person trying to steal a painting

in Senator Jeff Merkley's office. I stopped an attack of someone who was accused of being
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Antifa by other Trump supporters in the crowd. I not only didn't enter by force, but I waited until

I had heard that police were letting us in, and to make certain of what was being shared by the

crowd, I refused to enter until I had verified this myself. You say that you think I may pose a

non-violent danger to the community, well that's very confusing, the question you should be

concerned with is what force have I ever used to promote my political ends? I'll answer for you,

the answer is that I've never used force against others to promote my political ends. Even on

January 6th, I spoke against such actions outside the capitol and inside the capitol. I took selfies

with police, I had good conversations with them, I waved to them, wished them a good night,

and overall had a blast.

       Now, you like to pridefully claim victory because your denial for bond with the Jew

hating man known as Timothy- Hale- Cusanelli was approved of by the appellate court. His

lawyers cited this case law as a reason why he should be released. Now that his trial is over, I can

say on court record as a person who was raised by a Jewish mother, and whose family is Jewish

that he was a very nasty person who was clearly anti-Semitic. Though I will say I do believe he

was held more for his words and beliefs. Though I don't agree with his views and have even been

targeted by him through various attacks, one of which lead me to being sent to solitary

confinement for over a month, I still don't think he should've been held pre-trial. I also think 4

years for merely walking into the capitol (that is all I'm aware of him doing, don't have case law

on him here) was selective on your part. All that aside, I am nothing like Tim. I do recall reading

that Tim had shown that he will act on his hateful beliefs. I recall reading something along the

lines that he went to a minority persons house, and shot a potato gun at his house with swastikas'

on it and with the words "white is right". I've never done such a thing. Tim's character was also

attacked with strong evidence, a super majority of his co workers shared that they had heard him
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share hateful things about others and promoting violence against the government and was serious

about it. The government provided no evidence that I promoted such things prior to January 6th,

even though our country would've never been founded without such thoughts.

       Tim didn't have the community connections, or anywhere near the accomplishments that

I had, he didn't have a strong family base, after all, his aunt is a fat slob who has taken advantage

of many people financially including myself. I have State prosecutors, inventors, business-men

and women, doctors, and many other professionals in my family. I went to college and know my

father unlike Tim, please read on the statistics on how these two factors alone mean there is a

way lower chance of a person committing a crime. Finally, Tim was there in the famous breach

video, and he didn't wait to see if police were letting us in at the time, he just charged in, which I

know you have a problem with. Tim is very different from me, this is not a similar bond petition,

in fact, I'm not seeking a bond (though I should get it), I'm seeking temporary release, a separate

order. Still, you have no real reason to hold me in jail.

       6: United States V. Melendez-Carrion, 790 F.2d 984 (2d Cir. 1986) (incarceration

accomplished to protect society from criminals convicted of past crimes and not as regulation to

protect society from those likely to commit future crimes... 18 U.S.C. Subsection 3142(e) which

provides for a rebuttable presumption of dangerousness if certain factors are established.

Comments:

       You've insinuated that you're fearful that I may commit "non-violent dangerous" crimes.

You have no evidence to show that I've ever been convicted of any crime whatsoever. You aren't

supposed to be attempting to protect society from those who you find are likely to commit

crimes. Did you become a judge to enforce the laws of the United States including the

constitution or did you become a judge in an attempt to make you own? Judging by how you've
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conducted yourself in this case, I find that there's clear and convincing evidence to suggest that

you won't follow or respect the laws of the United States and that you are going to do what you

want to do (ironic as it is, those were your words following my revocation hearing, gas-light

much?).

Additionally, no factors were established to present me as a danger to society, and yet you claim

I'm too dangerous to be released.



7: United States V. Vasquez-Benitez, 919 F.3d 546 (D.C. Cir. 2019)(District court did not clearly

err in finding that defendant was not a flight risk under the Bail Reform Act, 18 U.S.C.

subsection 3142(e)(1), because he was charged with a non-violent crime, had family ties and a

job, and could not flee if he wanted to preserve his opportunity to obtain withholding of removal

in his immigration case, had never been convicted of a violent crime, and had left the street gang.



Comments: What's different here? Oh, only things that point to even more reasons that I

shouldn't have been held. I've already expressed all of these things multiple times, but I also

should share that I've never been a part of any gang. I've also gone into detail with how I'm not a

flight risk, if the truth was shared there is no way that any true court would be able to view me as

a flight risk.



10: The court could understand my situation by looking at the Greek mythology story of

Sisyphus. Sisyphus to my memory was not a god, but a man, a prideful man (like me) cursed by

the gods to have a ball and heavy chain attached to him. He had to climb an enormously tall and

treacherous mountain with that ball and chain attached to him. Any time he started getting close
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to the top, the gods would take away all his progress and send him tumbling down to the very

start again. This would all happen as he was being tortured along the way and also being rushed

constantly to get to the top of the mountain. Though he kept trying, he never could make it

because the gods who had power over his circumstances made sure that he never was able to

finish. In order to escape his situation, he had to get to the top of the mountain.

       Like Sisyphus, I've been cursed by powers who have control over my circumstances. I

also have been both literally and metaphorically placed in chains. Chains that both make me a

prisoner and that slow my ability to make it up my own mountain, being prepared for trial. The

jails slow me down (example: no law libraries, not giving me paper, not giving me pens, not

allowing correspondence with the courts to go in or out, mailing issues), but I push through. The

government slows me down (example: not giving me global/ personal discovery), but I push on.

The court slows me down (example: not granting relief on anything that the others are doing that

are slowing me down or stopping them from making me have to start all over), but I keep going.

I keep climbing this mountain while I'm being tortured, (I've been attacked and maced by guards,

been threatened to go to prison for 20 years, not allowed to shower for days, been in 24/7

lockdown, had family members die, etc.). When I finally start making some decent progress up

this mountain despite the ball and chain attached to me, the jails take all my hard work and then

refuse to give it back, making me have to start all over again. When I ask for help from another

"god" (this court) the court refuses to stop the others from making me start over, or from

allowing me to go back to where I was before the others threw me off and made me start over.

       All this happens as I have the court telling me to hurry up and get to the top of the

mountain, "It's been over two years, I've given you plenty of time!" However, I just don't

understand how the court wouldn't know that all these circumstances are stopping me from
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reaching my goal, the same goal the court supposedly wants me to reach which is being ready for

trial. If this court really wants me to be truly ready for trial, then it needs to stop allowing others

from taking my preparations causing me to have to start all over from the beginning. It needs to

put me back to where I was and get my preparations back. It also needs to not account for overall

time that has passed since my arrest, but time I was truly allowed to prepare. You can't claim I

had two years to prepare if I keep having to start all over. Since I've arrived at this new facility

on 12/17. I've had less than two months to prepare for my trial surrounding the largest criminal

investigation in American history. All this while suffering from correspondence sending and

receiving issues, still not having global discovery, and still not having all of my personal

discovery/ only seeing the partial personal discovery for 2 weeks. Less than three months to

prepare and finish all pre-trial motions and to be ready for trial is ridiculous. Even for the

government (who has thousands of people focusing on these cases) less than three months wasn't

enough for them to be ready, and yet I'm expected to be ready while doing all this on my own

from a jail cell? More often than not I've had to wait over six months to even get something I've

requested from my stand-by counsels. Multiple times, I finally received these things just to be

moved and had them taken away.

        It's pitiful that I have to spell all this out to someone who judges cases that effect cities,

companies, and individual lives on a daily basis. In the children stories of Sisyphus, even

children knew that there was no real way for Sisyphus to reach the top unless the gods stopped

inhibiting him. So I'm perplexed why you still haven't figured this out. In my opinion, you're

smart enough to understand this, but as mentioned early on in the introduction, I think the most

reasonable explanation for your illogical rulings and for your denials of relief is that you are

corrupt, selective, and biased. However, I want to play it safe and I always do challenge myself
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to give people the benefit of the doubt, so just in case you truly are mentally inhibited I will spell

it out for you.

        Read this nice and slowly, I'll make it as simple as possible. If you need me to draw you

pictures, I'm autistic, not artistic, I'll have to ask someone else to help you with that, just let me

know. Still, lets give this a try...

        This bad. This not justice. This injustice. Me need discovery. Me need preparations not to

be taken from me. Preparations taken once VERY BAD. Preparations taken seven times VERY

VERY BAD. Preparations taken and never given back VERY VERY VERY BAD. Government

supposed to follow laws too. You supposed to follow laws. Laws not being followed is bad. Me

not being prepared for trial your fault. Me try to prepare, but you don't let me, that's why your

fault. Me try to prepare, you don't allow. When government lie about me and to you that is very

bad. Sending someone to jail over lies very bad. It is a good to listen to both sides. If I lose at

trial because not allowed to prepare, I will have expensive new trial, cost lots of money. You are

supposed to find out the truth. When you tell the government to do something and they don't

listen, that is bad. When I prove the jails and government are lying to you, that is bad, you should

not allow them to lie to you.

        Despite all that's happened, I don't fear prison or jail, what I fear is not standing for the

truth in this case. I fear not standing up to corrupt bullies. I fear not speaking the truth. I speak

the truth regardless of the repercussions I face whether that's my thoughts about you and your

corrupt ways, about me, or about January 6th. I've shown I don't care how damaging the truth is,

I'll speak it. Look at my previous motions and transcripts. Do whatever you want because I know

you do anyways, I'm just leaving a record that I spelled out my problems as simple as possible
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and asked for relief. I'd prefer you grant my motions, but I'm not in control. Hopefully you

change your ways.



Dated: February 27, 2023                             Respectfully submitted,



                                                     /s/ Brandon Fellows
                                                     pro se


                                                     /s/ William L. Shipley
                                                     William L. Shipley, Jr., Esq.
                                                     PO BOX 745
                                                     Kailua, Hawaii 96734
                                                     Tel: (808) 228-1341
                                                     Email: 808Shipleylaw@gmail.com

                                                     Standby Counsel
